                 Case 1-18-43997-cec              Doc 93        Filed 08/15/19          Entered 08/16/19 00:18:07

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-43997-cec
Kum Gang, Inc                                                                                              Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: cteutonic                    Page 1 of 1                          Date Rcvd: Aug 13, 2019
                                      Form ID: 227                       Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 15, 2019.
db             +Kum Gang, Inc,   138-28 Northern Blvd.,     Flushing, NY 11354-3406
aty            +McCallion & Associates LLP,    100 Park Avenue,    16th Floor,    New York, NY 10017-5538
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
smg            +United States of America,    Secretary of the Treasury,    15th Street & Pennsylvania Ave. NW,
                 Washington, DC 20220-0001
9311746        +BLUE STAR MEAT CORP,    520 CRAVEN STREET,    BRONX, NY 10474-6604
9311747        +FDNY,   9 METROTECH CENTER,    ENFORCEMENT - RM 35-73K,    BROOKLYN, NY 11201-5431
9356919         Illinois Union Insurance Company,     c/o Chubb,   202A Hall’s Mill Road - Bldg A,
                 Whitehouse Station, NJ 08889
9311748        +KIT REALTY INC.,    47 HILLSIDE AVE.,    MANHASSET, NY 11030-2229
9311749        +Kang Youl Lee, CPA, PC,    303 East 5th Ave. #207,    New York, NY 10016-6690
9365888        +NYC Department of Finance,    Tax, Audit and Enforcement Division,     345 Adams Street,
                 10th Floor,   Brooklyn, NY 11201-3739
9312980        +NYS DEPT. OF LABOR,    UNEMPLOYMENT DIV.,    STATE CAMPUS BLDG 12, RM 256,
                 ALBANY, NY 12240-0001
9380089        +Noah Bank,   2337 Lemoine Avenue,     Fort Lee, NJ 07024-6211
9380536        +Noah Bank,   c/o Robert Yu LLC,    449 Broad Avenue 2nd Floor,     Palisades Park NJ 07650-1632,
                 Attn: Robert Yu, Esq
9378463         Noah Bank,   7301 old York Road,    Elkins Park, NY 11354
9311751        +TD Auto Finance,    PO Box 16035,   Lewiston, ME 04243-9517

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Aug 13 2019 18:34:38
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,   PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Aug 13 2019 18:34:21
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,   New York, NY 10014-9449
9326244         EDI: IRS.COM Aug 13 2019 22:33:00      Internal Revenue Service,   P.O. Box 7346,
                 Philadelphia, PA 19101-7346
9378464        +EDI: CHRYSLER.COM Aug 13 2019 22:33:00      TD Auto Finance,   PO BOX 9223,
                 Farmington Hills, MI 48333-9223
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*              Internal Revenue Service,   PO Box 7346,   Philadelphia, PA                    19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 13, 2019 at the address(es) listed below:
              Kenneth F. McCallion   on behalf of Debtor   Kum Gang, Inc kfm@mccallionlaw.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
              Randi Beth Gilbert   on behalf of Creditor   Kit Realty, Inc. rgilbert@HWRPC.com
              Robert H Yu   on behalf of Creditor   Noah Bank ryu@robertyullc.com
                                                                                            TOTAL: 4
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 Information to identify the case:
 Debtor
                    Kum Gang, Inc                                            EIN 11−3193913
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                             Date case filed for chapter 11 7/12/18
 Case number: 1−18−43997−cec




                                                NOTICE OF DISMISSAL OF CASE
NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) having filed a Chapter 11 petition in bankruptcy on July 12, 2018, and an order having
been signed by the Honorable Carla E. Craig, United States Bankruptcy Judge, on August 12, 2019 for the dismissal
of said petition.
You are notified that the petition of the above−named debtor(s) has been dismissed.
Notice is further given that if there are any outstanding filing fees due, they must be paid in full to the Clerk of Court
upon receipt of this notice.

 Dated: August 13, 2019


                                                                   For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod.jsp [Notice of Dismissal rev. 03/07/17]
